                                                                                     Motion GRANTED.

                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


  UNITED STATES OF AMERICA                     )
                                               )
                                               )
         v.                                    )       No. 3:09-00099
                                               )       Hon. Aleta A. Trauger
                                               )
  ANDRE TERRELL CARTER                         )

                    MOTION FOR LEAVE TO FILE UNDER SEAL

         Through counsel, the defendant requests that the court permit him to file

  documents under seal. In support of this motion, defendant would show the following:

  The “Administrative Practice and Procedures for Electronic Case Filing (ECF) adopted

  by this Court in Administrative Order No. 167 at ¶ 5.07 requires parties to file a motion

  seeking leave of court prior to filing any documents electronically under seal.

                                               s/ William I. Shockley
                                               William I. Shockley (BPR #26137)
                                               Attorney for Defendant
                                               4505 Harding Road, Ste. 126
                                               Nashville, Tennessee 37205
                                               (615) 497-8550

                        CERTIFICATE OF SERVICE

         The undersigned certifies that a true and correct copy of the foregoing document
  and the three documents filed under seal were served by electronic means through the
  CM/ECF filing system on the 9th day of April, 2012 to Lynne T. Ingram, Assistant United
  States Attorney, 110 Ninth Avenue S., Suite A961, Nashville, Tennessee 37203.

                                               s/ William I. Shockley




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